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Honorable Robert S. Lasnik

UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF WASHINGTON
AT SEATTLE

 

YESENIA PACHECO, LUIS LEMUS, and
S.L.P., minor child, by and through her NO. C15-1175 RSL
Guardian ad Litem Brian Comfort,
DECLARATION OF

Plaintiffs, REBECCA S. BELLERIVE

Vv
UNITED STATES OF AMERICA,

Defendant.

 

 

 

 

 

I, Rebecca S. Bellerive, hereby declare as follows:
1. Iam a licensed nurse and certified life care planner.
2. I have been retained on behalf of the United States to offer expert testimony and
prepare a life care plan setting out future medical care needs for SLP.
3. All my opinions offered in writing and during my testimony at trial were made on a
more probable than not basis, and where applicable, to a reasonable degree of medical certainty.
I declare under penalty of perjury, pursuant to 28 U.S.C. § 1746, that the foregoing is true

and correct to the best of my knowledge.

DECLARATION OF REBECCA BELLERIVE UNITED STATES ATTORNEY
C15-1175 RSL 1 1201 PaciFIC AVE., STE. 700

TACOMA, WASHINGTON 98402
(253) 428-3800

 
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aqNP
Dated this Z2day of September, 2020.

tig? VMAMALL
REBECCA S. BELLERIVE

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DECLARATION OF REBECCA BELLERIVE oy be STATES aOR
1201 PaciFic AVE., STE.
CUS-2175 BBlee TACOMA, WASHINGTON 98402
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